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                              UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF GEORGIA
                                    SAVANNAH DIVISION

 CENTER FOR A SUSTAINABLE COAST, INC                    *
                                                        ù

             Plaintiff,                                 *     CIVL ACTION FILE NO
                                                        *
 V                                                      *
                                                        +

 THE UNITED STATES ARMY CORPS OF                        *
 ENGINEERS et al..                                      {<

                                                        ù

             Defendants.                                ,¡<




              PLAINTIFF'S LOCAL RULE 7.1.1 DISCLOSURE STATEMENT


        The undersigned, counsel of record for Center for a Sustainable Coast, Inc. certifïes

that the following is a full and complete list of parties in this action:

Plaintiff

Center for a Sustainable Coast, Inc.

Defendants

United States Army Corps of Engineers
Lieutenant General Todd Semonite
Colonel Daniel Hibner
Tunis McElwain

        The undersigned further certifTes that to best of her knowledge the following is a full

and complete list of offïcers, directors, or trustees of the above-identifïed parties. Plaintiff

provides this list to the best of their knowledge.

Center for a Sustainable Coast, Inc.

     Steve Willis, President, Center for Sustainable Coast, Inc.
     Mindy Egan, Secretary-Treasurer, Center for Sustainable Coast, Inc.
     Ellen Schoolar, Board Member, Center for Sustainable Coast, Inc.
     Les Davenport, PhD, Board Member, Center for Sustainable Coast, Inc.
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   David Kyler, Executive Director, Center for Sustainable Coast, Inc.
   Helen Alexander, Administrative Assistant, Center for Sustainable Coast, Inc.

Defendant U.S. Armv Corps of Engineers

Plaintiff submits the following upon information and belief:

   o   Major General Michael Wehr, Deputy Chief of Engineers/Deputy Commanding General,
       US Army Corps of Engineers
   .   Major General Scott A. Spellman, Deputy Commanding General for Civil and
       Emergency Operations, US Army Corps of Engineers
   o   Major General Anthony C. Funhouser, Deputy Commanding General for Military and
       International Operations, US Army Corps of Engineers
   o   Colonel Kirk E. Gibbs, Chief of Staff, US Army Corps of Engineers
   o   Colonel Raymond Alford Robinson, Jr., Commander Chaplan, US Army Corps of
       Engineers
   .   Karen J. Baker, SES, Chief of Environmental Division, US Army Corps of Engineers
   o   James C. Dalton, SES, Director of Civil Works, US Army Corps of Engineers
   o   Lieutenant Colonel Stephen Peterson, Deputy Commander, Savannah Dislrict, US Army
       Corps of Engineers
   o   Lieutenant Colonel John R. Grabowski, Deputy Commander for Transportation,
       Savannah District, US Army Corps of Engineers
   o   Erik Blechinger, Deputy District Engineer, PPM, Savannah District, US Army Corps of
       Engineers
   o   Jeremy C. Keels, Executive Officer, Savannah District, US Army Corps of Engineers



   The undersigned further certifTes that the following is a full and complete list of other

persons, firms, partnerships, corporations, or organizations that have a fTnancial interest

in, or another interest which could be substantially affected by, the outcome of this    case

(including a relationship as a parent or holding company or any publicly-held corporation

that holds l0o/o or more of a parfy's stock):

       No publicly held company has a I}Yo or greater ownership interest in Plaintiff.
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       This action is related to the recently filed action Altamaha Riverkeeper, et al v. The

United States Army Corps of Engineers, et al., United States District Court for the Southem

District of Georgia, Civil Action No. 4:18-CV-00251-JRH-JEG.

       Non-Pafty, Sea Island Acquisitions, LLC may have an interest in this action.




Respectfully submitted this 2"d day of November 2018


                                             s/ Kimberly A. (Kasey) Sturm
                                             Kimberly (Kasey) A. Sturm
                                             Georgia Bar No. 690615
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